                                                                                    ✔ Original
                                                                                    u                          u Duplicate Original
AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV



                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No. 20-1018M(NJ)
    Information associated with Facebook user ID                            )      0DWWHU1R5
    #100030400848546, controlled or operated by                             )
   Facebook Inc., better described in Attachment A                          )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A. Over which the Court has jurisdiction pursuant to 18 U.S.C. §§ 2703 and 2711 and Federal Rule of Criminal
  Procedure 41.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before            12/27/2021                   (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                    Honorable Nancy Joseph                   .
                                                                                                 (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the
                                                                           he later specific date of                                   .


Date and time issued:             12/13/2021 @ 5:08 p.m.
                                                                                                         JJudge’s
                                                                                                          Ju
                                                                                                           udg
                                                                                                             ge’
                                                                                                               e’s ssi
                                                                                                                    signature
                                                                                                                     ignaturre

City and state:                Milwaukee, WI                                        Honorable Nancy Jose
                                                                                                    Joseph,
                                                                                                       eph UU.S.
                                                                                                              S Magistrate Judge
                                                                                                                           Jud
                                                                                                       Printed name and title
                             Case 2:21-mj-01018-NJ Filed 12/14/21 Page 1 of 53 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                             Case 2:21-mj-01018-NJ Filed 12/14/21 Page 2 of 53 Document 1
                                     ATTACHMENT A


                                  Property to Be Searched


       This warrant applies to information associated with the Facebook user ID #

100030400848546 that is stored at premises owned, maintained, controlled, or operated by

Facebook Inc., a company headquartered in Menlo Park, California.




          Case 2:21-mj-01018-NJ Filed 12/14/21 Page 3 of 53 Document 1
                                        ATTACHMENT B

                         Particular Things to be Seized and Procedures
                             to Facilitate Execution of the Warrant

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, Inc. (“Facebook”), including any messages, records, files, logs,

or information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

       (a)      All contact and personal identifying information, including Facebook user ID #

                100030400848546: full name, user identification number, birth date, gender,

                contact e-mail addresses, Facebook passwords, Facebook security questions and

                answers, physical address (including city, state, and zip code), telephone numbers,

                screen names, websites, and other personal identifiers.

       (b)      All activity logs for the account and all other documents showing the user’s posts

                and other Facebook activities;

       (c)      All photos and videos uploaded by that user ID and all photos and videos

                uploaded by any user that have that user tagged in them;

       (d)      All profile information; News Feed information; status updates; links to videos,

                photographs, articles and other such items; Notes; Wall postings; friend lists,

                including the friends’ Facebook user identification numbers; groups and networks

                of which the user is a member, including the groups’ Facebook group

                identification numbers; future and past event postings; rejected “Friend” requests;




             Case 2:21-mj-01018-NJ Filed 12/14/21 Page 4 of 53 Document 1
         comments; gifts; pokes; tags; and information about the user’s access and use of

         Facebook applications;

(e)      All other records of communications and messages made or received by the user,

         including all private messages, chat history, video calling history, and pending

         “Friend” requests;

(f)      All “check ins” and other location information;

(g)      All IP logs, including all records of the IP addresses that logged into the account;

(h)      All records of the account’s usage of the “Like” feature, including all Facebook

         posts and all non-Facebook webpages and content that the user has “liked”;

(i)      All information about the Facebook pages that the account is or was a “fan” of;

(j)      All past and present lists of friends created by the account;

(k)      All records of Facebook searches performed by the account;

(l)      All information about the user’s access and use of Facebook Marketplace;

(m)      The types of service utilized by the user;

(n)      The length of service (including start date) and the means and source of any

         payments associated with the service (including any credit card or bank account

         number);

(o)      All privacy settings and other account settings, including privacy settings for

         individual Facebook posts and activities, and all records showing which Facebook

         users have been blocked by the account;

(p)      All records pertaining to communications between Facebook and any person

         regarding the user or the user’s Facebook account, including contacts with support

         services and records of actions taken.

                                           2



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II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, or

instrumentalities of, or contraband from, violations of Title 19, United States Code, 922, Title 21,

United States Code, Sections 841 and 846 involving JORDAN since September 1, 2019,

including, for each user ID identified on Attachment A, information pertaining to the following

matters:

           (a) The possession and/or sale of illegal narcotics;

           (b) The possession of firearms;

           (c) Evidence of straw purchasing firearms and illegal firearms trafficking;

           (d) Evidence indicating how and when the Facebook account was accessed or used,

               to determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account

               owner;

           (e) Evidence indicating the Facebook account owner’s state of mind as it relates to

               the crime under investigation;

           (f) The identity of the person(s) who created or used the user ID, including records

               that help reveal the whereabouts of such person(s).

           (g) The identity of the person(s) who communicated with the user ID about matters

               relating to the sale or purchase of illegal narcotics, including records that help

               reveal their whereabouts.

III.       Government procedures for warrant execution

       The United States government will conduct a search of the information produced by

Facebook and determine which information is within the scope of the information to be seized

                                                 3



           Case 2:21-mj-01018-NJ Filed 12/14/21 Page 6 of 53 Document 1
specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from Facebook that does not

fall within the scope of Section II and will not further review the information absent an order of

the Court.




                                                 4



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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 21-1018M(NJ)
    Information associated with Facebook user ID                             )
                                                                             )              0DWWHU1R5
    #100030400848546, controlled or operated by
                                                                             )
   Facebook Inc., better described in Attachment A
    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A. Over which the Court has jurisdiction pursuant to 18 U.S.C. §§ 2703 and 2711 and Federal Rule of
 Criminal Procedure 41.
located in the                                    District of                                         , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. 922 and 21 U.S.C.               Straw purchasing of firearms; illegal firearms trafficking.
        841 and 846

          The application is based on these facts:
        See attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                      ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                    Applicant’s signature

                                                                                                  Matthew Ernst, SA ATF
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fe   Fed.
                                                                           ed
                                                                            d.. R. Crim. P. 4.1 by
                      telephone                       (specify reliable
                                                                    blle electron
                                                                         electronic
                                                                               onnicc m   ans).
                                                                                      means)
                                                                                        eea


Date:         12/13/2021
                                                                                                      JJudge’s
                                                                                                       Ju
                                                                                                        udg
                                                                                                          dge’’s ssi
                                                                                                                  signature
                                                                                                                   ignature

City and state:       Milwaukee, WI                                                  Honorable Nancy Joseph U.S. Magistrate Judge
                                                                       Printed name and title
                        Case 2:21-mj-01018-NJ Filed 12/14/21 Page 8 of 53    Document 1
                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       I, Matthew Ernst, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application for a search warrant for

information associated with a certain Facebook user ID that is stored at premises owned,

maintained, controlled, or operated by Facebook, Inc. (“Facebook”), a social networking

company headquartered in Menlo Park, California. The information to be searched is described

in the following paragraphs and in Attachment A. This affidavit is made in support of an

application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to

require Facebook to disclose to the government records and other information in its possession,

further described in Section I of Attachment B, pertaining to the subscriber or customer

associated with the user ID. Upon receipt of the information described in Section I of

Attachment B, government-authorized persons will review that information to locate the

information described in Section II of Attachment B, using the procedures described in Section

III of Attachment B.

       2.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (hereinafter “ATF”). As such, I am “an investigator or officer charged by the

Attorney General with the duty of enforcing any of the criminal, seizure, or forfeiture provisions

of the laws of the United States,” within the meaning of Section 3051(a) of Title 18, United

States Code; that is, an officer of the United States who is empowered by law to conduct

investigations of, execute warrants and to make arrests for offenses against the United States and

offenses enumerated in United States Code Title 18 and Title 21. I have been employed with the




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ATF since January 2015, and am currently assigned to the Milwaukee Field Office, under the

Chicago Field Division. I completed Criminal Investigative Training and Special Agent Basic

Training at the Federal Law Enforcement Training Center. I have received training on in

connection with, and conducted investigations of violations of the National Firearms Act, Gun

Control Act, and Title 18, United States Code, Sections 922(g), 924(c) and others. I have also

received training and conducted investigations involving illicit drugs and the distribution of illicit

drugs in violation of Title 21, United States Code, Sections 841, 843, 846 and others.

       3.      Based on my training, experience, discussions with other law enforcement agents,

and my participation in other investigations involving criminal gangs, controlled substances, and

firearms, I know that individuals involved with and/or in criminal gangs as well as drug and

firearm traffickers commonly use the social media platform Facebook to facilitate their gang,

drug, and firearm trafficking activities. It is common for criminal gang members, as well as drug

and firearm traffickers to have a Facebook profile and are able to access it via their computer

and/or cellular telephone. Criminal gang members as well as drug and firearm traffickers

commonly maintain a Facebook profile, and sometimes allow other criminal gang members

and/or drug and firearm trafficking associates to use their profile, to conduct criminal gang

activity and/or drug and firearm trafficking business.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 18 United States Code 922 and Title 21

                                                  2



            Case 2:21-mj-01018-NJ Filed 12/14/21 Page 10 of 53 Document 1
United States Code 841 and 846, have been committed by Demetrius JORDAN (“JORDAN”),

and others, known and unknown, as explained below. There is also probable cause to search the

information described in Attachment A for evidence of these crimes and contraband or fruits of

these crimes, as described in Attachment B.

                                                 JURISDICTION

         6.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is a “district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more

fully below, the criminal offenses under investigation began or were committed upon the high

seas, or elsewhere out of the jurisdiction of any particular State or district, and no offender is

known to have, or have had, residence within any United States district. See 18 U.S.C. § 3238.

                                              PROBABLE CAUSE

         7.        On or about September 15, 2021, your Affiant initiated an investigation into

Demetrius Myles JORDAN for suspected straw purchasing of firearms as well as illegal firearms

trafficking.


         8.       On or about September 14, 2021, your affiant conducted a query of eTrace 1 for

multiple sale reports 2 in Kenosha County, Wisconsin. The query revealed JORDAN to be related



1
  “eTrace” is an ATF operated law enforcement database and is an internet-based system that allows participating
law enforcement agencies to submit firearm traces to the ATF National Tracing Center (NTC). Authorized users can
receive firearm trace results via this same internet web site, search a database of all firearm traces submitted by their
individual agency, and perform analytical functions.
2
 “Multiple Sale” describes the sale or other disposition to an unlicensed person, at one time or during any five
consecutive business days, of either: two or more pistols or revolvers, or any combination of pistols and revolvers,
                                                           3



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to three (3) separate multiple sale of firearms transactions that occurred between the dates of

January 29, 2021 to June 23, 2021. A total of six (6) pistols were purchased, two (2) firearms per

multiple sale reports. The following is a synopsis of the multiple sales reports associated to

JORDAN:

               a. On January 29, 2021, JORDAN purchased a Glock, Model 21, .45 caliber pistol

                  bearing serial number AEVT353 and F.N. (FN Herstal), Model Five-Seven,

                  5.7 caliber pistol bearing serial number 386356638 from 5 Star Firearms,

                  located at 9037 Sheridan Road, Kenosha, Wisconsin 53143.

               b. On May 13, 2021, JORDAN purchased a Glock, Model 19X, 9mm caliber pistol

                  bearing serial number AFBE860 and Ruger, Model Ruger-57, 5.7 caliber

                  pistol bearing serial number 642-33842 from 5 Star Firearms.

               c. On June 23, 2021, JORDAN purchased a Glock, Model 23, .40 caliber pistol

                  bearing serial number BTEU162 and Glock, Model 23, .40 caliber pistil

                  bearing serial number BTUU893 from Paddock Lake Sporting Goods, located

                  at 23522 75th Street, Paddock Lake, Wisconsin53168.

         9.       Continuing on this date, your Affiant queried JORDAN through eTrace in regards

to any firearms traces that were associated to him. The query revealed JORDAN to be related to

four (4) separate firearm trace reports that occurred between the dates of October 13, 2019 to

September 8, 2021. JORDAN was listed as the purchaser under each firearm trace report. The

following is a synopsis of the firearm trace reports associated to JORDAN:




totaling two or more; or two or more semiautomatic rifles capable of accepting detachable magazines and with
calibers greater than .22 (including .223/5.56). Federal firearms licensees are required to report these transactions.

                                                           4



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             a. On October 13, 2019, the Kenosha Police Department (KPD), under Investigation

                  # 19-63252, recovered a Smith & Wesson, Model SD40VE, .40 caliber pistol

                  bearing serial number FYT1240 from Darius E. MARTIN (DOB: 5/13/94) at

                  800 56th Street, Kenosha, Wisconsin 53140. JORDAN purchased the firearm on

                  April 21, 2017 from Gander Mountain, located at 6802 118th Avenue, Kenosha,

                  Wisconsin. The Time to Crime 3 on the firearm was 905 days.

             b. On November 18, 2020, the Racine County Sheriff’s Office (RCSO), under

                  Investigation # 20-57693, recovered a Taurus, Model G2C, 9mm caliber pistol

                  bearing serial number TMB64296 from Menachin O. BROWN (DOB: 2/27/83)

                  at 2207 Mead Street, Racine, Wisconsin 53403. JORDAN purchased the firearm

                  on December 27, 2019 from Jalensky’s Outdoors & Marine Inc., located at 5307

                  Green Bay Road, Kenosha, Wisconsin. The Time to Crime for the firearm was

                  327 days.

             c. On August 7, 2021, the Waukegan Police Department (WPD), under Investigation

                  # 21-33912, recovered a Glock, Model 19, 9mm caliber pistol bearing serial

                  number AFBE860 from Ktwoine D. WEBB (DOB: 1/21/90) at 612 N. Jackson

                  Street, Waukegan, Illinois 60085. JORDAN purchased the firearm on May 13,

                  2021 from 5 Star Firearms. The Time to Crime for the firearm was 86 days. This

                  firearm JORDAN purchased is associated to the above-described ATF Multiple

                  Sale Number: M20210335164.




3
 “Time to Crime” refers to the period of time (measured in days) between the first retail sale of a firearm and a law
enforcement recovery of that firearm during a use, or suspected use, in a crime.

                                                          5



            Case 2:21-mj-01018-NJ Filed 12/14/21 Page 13 of 53 Document 1
             d. On September 8, 2021, the Zion Police Department (ZPD), under Investigation #

                21-68864, recovered a Glock, Model 23, .40 caliber pistol bearing serial

                number BTUU893. The firearm was recovered from a dumpster located at 1510

                23rd Street, Zion, Illinois 60099. JORDAN purchased the firearm on June 23,

                2021 from Paddock Lake Sporting Goods. The Time to Crime for the firearm was

                77 days. This firearm JORDAN purchased is associated to the above-described

                ATF Multiple Sale Number: M20210408760.

       10.      On or about September 15, 2021, your Affiant contacted Gander

Outdoors/Camping World and spoke with Sales Manager Chris Grant in reference to receiving

all ATF Form 4473’s associated to JORDAN. On that same day, SA Ernst received two (2) ATF

Form 4473’s for firearms JORDAN purchased from Gander Outdoors/Camping World on

December 26, 2019 and December 26, 2020. The following is a synopsis of the information in

those documents.

             a. On December 26, 2019, JORDAN purchased a Kel-Tec, Model SU-22, .22LR

                caliber rifle bearing serial number VIB13. JORDAN provided his address as

                being 5041 34th Avenue, Kenosha, Wisconsin 53144. Under question 11.a., which

                asks “Are you the actual transferee/buyer of the firearm(s) listed on this form?”

                JORDAN checked “Yes”. Under question 11.e., which asks “Are you an unlawful

                user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or

                any other controlled substance?” JORDAN check “No”. It is important to note

                that there is a warning listed directly under question 11.e., displayed in bold font,

                which states: “Warning: the use or possession of marijuana remains unlawful

                under Federal law regardless of whether it has been legalized or decriminalized

                                                  6



         Case 2:21-mj-01018-NJ Filed 12/14/21 Page 14 of 53 Document 1
                for medicinal or recreational purposes in the state where you reside.” Under

                question 18.a., which asks for “Identification”, JORDAN provided his Wisconsin

                Driver’s License # J6351739520103.

             b. On December 27, 2020, JORDAN purchased a Ruger, Model Security-9

                Compact, 9mm caliber pistol bearing serial number 383-95041. JORDAN

                provided his address as being 3510 Washington Avenue, Upper, Racine,

                Wisconsin 53405. Under question 21.a., JORDAN checked “Yes” as him being

                the actual transferee/buyer of the firearm. Under question 21.e., which asks “Are

                you an unlawful user of, or addicted to, marijuana or any depressant, stimulant,

                narcotic drug, or any other controlled substance?” JORDAN check “No”. It is

                important to note that there is a warning listed directly under question 21.e., with

                the word “Warning:” in bold font, which states: “Warning: The use or possession

                of marijuana remains unlawful under Federal law regardless of whether it has

                been legalized or decriminalized for medicinal or recreational purposes in the

                state where you reside.” Under question 26.a., JORDAN provided Wisconsin ID

                Card # J6351739520103. (Agent Notes: ATF Form 4473 was revised in May

                2020. Question 11.a. is now 21.a. Question 11.e. is now 21.e. and question 18.a.

                is now 26.a.)

       11.      Continuing on this date, your Affiant contacted 5 Star Firearms in reference to

receiving all ATF Form 4473’s associated to JORDAN. On that same day, SA Ernst received

three (3) ATF Form 4473’s for firearms JORDAN purchased from 5 Star Firearms between

January 29, 2021 to May 13, 2021. The following is a synopsis of the information in those

documents.

                                                  7



         Case 2:21-mj-01018-NJ Filed 12/14/21 Page 15 of 53 Document 1
 a. On January 29, 2021, JORDAN purchased a Glock, Model G21, .45 ACP

    caliber pistol bearing AEVT353 and F.N., Model Five-Seven, 5.7 caliber

    pistol bearing serial number 386356638. JORDAN provided his address as

    being 3510 Washington Avenue, Upper, Racine, Wisconsin 53405. Under

    question 21.a., JORDAN checked “Yes” as him being the actual transferee/buyer

    of the firearms. Under question 21.e., which asks “Are you an unlawful user of, or

    addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other

    controlled substance?” JORDAN check “No”. It is important to note that there is a

    warning listed directly under question 21.e., with the word “Warning:” in bold

    font, which states: “Warning: The use or possession of marijuana remains

    unlawful under Federal law regardless of whether it has been legalized or

    decriminalized for medicinal or recreational purposes in the state where you

    reside.” Under question 26.a., JORDAN provided Wisconsin DL #

    J6351739520103.

 b. On March 4, 2021, JORDAN purchased a Canik, Model TP9SA, 9mm caliber

    pistol bearing serial number 20AP12319. JORDAN provided his address as

    being 3510 Washington Avenue, Racine, Wisconsin 53405. Under question 21.a.,

    JORDAN checked “Yes” as him being the actual transferee/buyer of the firearm.

    Under question 21.e., which asks “Are you an unlawful user of, or addicted to,

    marijuana or any depressant, stimulant, narcotic drug, or any other controlled

    substance?” JORDAN check “No”. It is important to note that there is a warning

    listed directly under question 21.e., with the word “Warning:” in bold font, which

    states: “Warning: The use or possession of marijuana remains unlawful under

                                     8



Case 2:21-mj-01018-NJ Filed 12/14/21 Page 16 of 53 Document 1
                Federal law regardless of whether it has been legalized or decriminalized for

                medicinal or recreational purposes in the state where you reside.” Under question

                26.a., JORDAN provided Wisconsin DL # J6351739520103.

             c. On May 13, 2021, JORDAN purchased a Glock, 19X, 9mm caliber pistol

                bearing serial number AFBE860 and Ruger, Model 57, 5.7 caliber pistol

                bearing serial number 642-33842. JORDAN provided his address as being 3510

                Washington Avenue, Upper, Racine, Wisconsin 53405. Under question 21.a.,

                JORDAN checked “Yes” as him being the actual transferee/buyer of the firearms.

                Under question 21.e., which asks “Are you an unlawful user of, or addicted to,

                marijuana or any depressant, stimulant, narcotic drug, or any other controlled

                substance?” JORDAN check “No”. It is important to note that there is a warning

                listed directly under question 21.e., with the word “Warning:” in bold font, which

                states: “Warning: The use or possession of marijuana remains unlawful under

                Federal law regardless of whether it has been legalized or decriminalized for

                medicinal or recreational purposes in the state where you reside.” Under question

                26.a., JORDAN provided Wisconsin ID # J6351739520103.

       12.      Continuing on this date, your Affiant went to Paddock Lake Sporting Goods and

spoke with Store Owner Randy Rogness in reference to receiving all ATF Form 4473’s

associated to JORDAN. Mr. Rogness was able to provide your Affiant with one (1) ATF Form

4473 for firearms JORDAN purchased from Paddock Lake Sporting Goods on June 23, 2021.

The following is a synopsis of the information in those documents.

             a. On June 23, 2021, JORDAN purchased a Glock, Model 23, .40 caliber pistol

                bearing serial number BTEU162 and Glock, Model 23, .40 caliber pistol

                                                 9



         Case 2:21-mj-01018-NJ Filed 12/14/21 Page 17 of 53 Document 1
              bearing serial number BTUU893. JORDAN provided his address as being 3510

              Washington Avenue, Upper, Racine, Wisconsin 53405. Under question 21.a.,

              JORDAN checked “Yes” as him being the actual transferee/buyer of the firearms.

              Under question 21.e., which asks “Are you an unlawful user of, or addicted to,

              marijuana or any depressant, stimulant, narcotic drug, or any other controlled

              substance?” JORDAN check “No”. It is important to note that there is a warning

              listed directly under question 21.e., with the word “Warning:” in bold font, which

              states: “Warning: The use or possession of marijuana remains unlawful under

              Federal law regardless of whether it has been legalized or decriminalized for

              medicinal or recreational purposes in the state where you reside.” Under question

              26.a., JORDAN provided Wisconsin ID # J6351739520103. JORDAN also

              provided his cellular telephone number as 262-873-7759. A photocopy of

              JORDAN’S Wisconsin ID card was attached to the ATF Form 4473 paperwork.

       13.    While taking photographs of the above-described 4473, Mr. Rogness informed

your Affiant that JORDAN had purchased the firearms from Second Amendment Sports, located

at 3705 W. Elm Street, McHenry, Illinois 60050, and then had them transferred to Paddock Lake

Sporting Goods where JORDAN came in fill out the ATF Form 4473 and pay a transfer fee. Mr.

Rogness stated he explained to JORDAN that he could order any firearms he wanted from his

store, but JORDAN declined and stated he would continue to purchase them down in Illinois.

Mr. Rogness further stated he believed JORDAN had made a more recent purchase and would

look through his ATF Form 4473’s and contact your Affiant when he found it. Later that evening

Mr. Rogness contacted your Affiant and stated he had found a more recent firearm purchase for

JORDAN.

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       14.      Continuing on this date, your Affiant completed a search on Facebook and found

that JORDAN’S Facebook URL is https://www.facebook.com/demetrius.jordan.7315 and the

Facebook User ID is 100030400848546 (“TARGET ACCOUNT”). Through an examination of

the publicly available information associated with JORDAN’S Facebook account, your Affiant

observed pictures and videos with JORDAN in them. Furthermore, in some of these pictures and

videos JORDAN can been seen in possession of firearm(s) and what is believed to be marijuana.

       15.      On or about September 16, 2021, your Affiant went back to Paddock Lake

Sporting Goods and took photographs of an ATF Form 4473 for a firearm JORDAN purchased

there on July 23, 2021. The following is a synopsis of the information in those documents.

             a. On July 23, 2021, JORDAN purchased a Glock, Model 23, .40 caliber pistol

                bearing serial number BTEU777. JORDAN provided his address as being 3510

                Washington Avenue, Upper, Racine, Wisconsin 53405. Under question 21.a.,

                JORDAN checked “Yes” as him being the actual transferee/buyer of the firearms.

                Under question 21.e., which asks “Are you an unlawful user of, or addicted to,

                marijuana or any depressant, stimulant, narcotic drug, or any other controlled

                substance?” JORDAN check “No”. It is important to note that there is a warning

                listed directly under question 21.e., with the word “Warning:” in bold font, which

                states: “Warning: The use or possession of marijuana remains unlawful under

                Federal law regardless of whether it has been legalized or decriminalized for

                medicinal or recreational purposes in the state where you reside.” Under question

                26.a., JORDAN provided Wisconsin DL # J6351739520103. JORDAN also

                provided his cellular telephone number as 262-771-9105. A photocopy of

                JORDAN’S Wisconsin DL was attached to the ATF Form 4473 paperwork.

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       16.      Continuing on this date, your Affiant went to Jalensky’s Outdoors & Marine Inc.

and spoke with store employee Jerry Witt in reference to receiving all ATF Form 4473’s

associated to JORDAN. Your Affiant received five (5) ATF Form 4473’s for firearms JORDAN

purchased from them between December 27, 2019 to June 7, 2021. Your Affiant also received

sales receipts for all the firearms transactions. The following is a synopsis of the information in

those documents.

             a. On December 27, 2019, JORDAN purchased a Taurus, Model G2C, 9mm

                caliber pistol bearing serial number TMB64296. JORDAN provided his

                address as being 5041 34th Avenue, Kenosha, Wisconsin 53144. Under question

                11.a., JORDAN checked “Yes” as him being the actual transferee/buyer of the

                firearm. Under question 11.e., which asks “Are you an unlawful user of, or

                addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other

                controlled substance?” JORDAN check “No”. It is important to note that there is a

                warning listed directly under question 11.e., displayed in bold font, which states:

                “Warning: the use or possession of marijuana remains unlawful under Federal law

                regardless of whether it has been legalized or decriminalized for medicinal or

                recreational purposes in the state where you reside.” Under question 18.a.,

                JORDAN provided Wisconsin DL # J6351739520103. The total price for the

                purchase came to $252.13. JORDAN paid $239.00 utilizing a Visa card and

                $20.00 in United States Currency (USC). JORDAN also provided his cellular

                telephone number as 262-496-6534.

             b. On December 11, 2020, JORDAN purchased a Smith & Wesson, Model

                SD9VE, 9mm caliber pistol bearing serial number FCW6339. JORDAN

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    provided his address as being 3510 Washington Avenue, Racine, Wisconsin

    53405. Under question 21.a., JORDAN checked “Yes” as him being the actual

    transferee/buyer of the firearm. Under question 21.e., which asks “Are you an

    unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic

    drug, or any other controlled substance?” JORDAN check “No”. It is important to

    note that there is a warning listed directly under question 21.e., with the word

    “Warning:” in bold font, which states: “Warning: The use or possession of

    marijuana remains unlawful under Federal law regardless of whether it has been

    legalized or decriminalized for medicinal or recreational purposes in the state

    where you reside.” Under question 26.a., JORDAN provided Wisconsin ID #

    J6351739520103. The total price for the purchase came to $474.72. JORDAN

    paid the full amount utilizing a Visa card. JORDAN also provided his cellular

    telephone number as 901-646-3717.

 c. On April 10, 2021, JORDAN purchased a Glock, Model 19X, 9mm caliber

    pistol bearing serial number BTDU625. JORDAN provided his address as

    being 3510 Washington Avenue, Upper, Racine, Wisconsin 53405. Under

    question 21.a., JORDAN checked “Yes” as him being the actual transferee/buyer

    of the firearm. Under question 21.e., which asks “Are you an unlawful user of, or

    addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other

    controlled substance?” JORDAN check “No”. It is important to note that there is a

    warning listed directly under question 21.e., with the word “Warning:” in bold

    font, which states: “Warning: The use or possession of marijuana remains

    unlawful under Federal law regardless of whether it has been legalized or

                                     13



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    decriminalized for medicinal or recreational purposes in the state where you

    reside.” Under question 26.a., JORDAN provided Wisconsin DL #

    J6351739520103. The total price for the purchase came to $801.79. JORDAN

    paid $770.00 in USC and $31.79 using a Visa card. JORDAN also provided his

    cellular telephone number as 901-279-7514.

 d. On April 20, 2021, JORDAN purchased a Glock, Model 19, 9mm caliber pistol

    bearing serial number BSBS178. JORDAN provided his address as being 3510

    Washington Avenue, Upper, Racine, Wisconsin 53405. Under question 21.a.,

    JORDAN checked “Yes” as him being the actual transferee/buyer of the firearm.

    Under question 21.e., which asks “Are you an unlawful user of, or addicted to,

    marijuana or any depressant, stimulant, narcotic drug, or any other controlled

    substance?” JORDAN check “No”. It is important to note that there is a warning

    listed directly under question 21.e., with the word “Warning:” in bold font, which

    states: “Warning: The use or possession of marijuana remains unlawful under

    Federal law regardless of whether it has been legalized or decriminalized for

    medicinal or recreational purposes in the state where you reside.” Under question

    26.a., JORDAN provided Wisconsin DL # J6351739520103. The total price for

    the purchase came to $749.04. JORDAN paid $760.00 in USC and received

    $10.96 back as change. JORDAN also provided his cellular telephone number as

    901-279-7514.

 e. On June 7, 2021, JORDAN purchased a Canik, Model TP9SFX, 9mm caliber

    pistol bearing serial number 21BC15371. JORDAN provided his address as

    being 3510 Washington Avenue, Upper, Racine, Wisconsin 53405. Under

                                    14



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               question 21.a., JORDAN checked “Yes” as him being the actual transferee/buyer

               of the firearm. Under question 21.e., which asks “Are you an unlawful user of, or

               addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other

               controlled substance?” JORDAN check “No”. It is important to note that there is a

               warning listed directly under question 21.e., with the word “Warning:” in bold

               font, which states: “Warning: The use or possession of marijuana remains

               unlawful under Federal law regardless of whether it has been legalized or

               decriminalized for medicinal or recreational purposes in the state where you

               reside.” Under question 26.a., JORDAN provided Wisconsin ID #

               J6351739520103. The total price for the purchase came to $606.60. JORDAN

               paid $620.00 in USC and received $13.40 back as change. JORDAN also

               provided his cellular telephone number as 262-221-6147.

       17.     On or about September 21, 2021, your Affiant finished reviewing public available

information associated to the TARGET ACCOUNT. Your Affiant positively identified the

TARGET ACCOUNT belonged to JORDAN by comparing pictures and videos posted of the

account’s user to JORDAN’S Wisconsin driver’s license photograph, which were a match.

       18.     Through reviewing the publicly available information on JORDAN’S Facebook,

your Affiant observed pictures and videos of JORDAN in possession of firearms, marijuana, and

images of JORDAN engaging in gang activity. In two (2) Facebook Live videos posted by

JORDAN on March 19, 2021, your Affiant observed JORDAN actively consuming marijuana

while in possession of a firearm during the video.

       19.     The following are pertinent photographs observed by your Affiant:



                                               15



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 a. On July 15, 2021, Jordan posted a screenshot of an Instagram post made by

    “saycheesetv”. The post shows a picture of members of the Chicago Police

    Department and above the picture states, “Gang members in Chicago outnumber

    police officers about 9 to 1. There are about 117,000 gang associates, who are part

    of the city’s 55 known gangs. The number greatly exceeds the city’s police force,

    which employs around 13,000 officers.” When JORDAN posted this to his

    Facebook he put the following comment, “Proof it’s more of us then them.

    *several emojis” still can’t come together. Nd this just Chicago.” (Figure 1)




                                 Figure 1




                                    16



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 b. On July 19, 2021, JORDAN posted another screenshot of an Instagram post made

    by “saycheesetv”. The post show an image of several firearms and above the

    image reads, “Appeals court rules firearms dealers can sell handguns to 18-year-

    olds”. JORDAN’S caption for the picture states, “Lol they tryna start some shit

    first no permit to conceal carry. Now this. lol *several emojis*”. (Figure 2)




 c. On April 23, 2021, JORDAN posts a picture of him standing in front of a door,

    holding a firearm with an extended magazine in his right hand, throwing what

    appears to be a gang sign with his left hand and a black firearm holster on his

    waist band (Figure 3). JORDAN’s caption for the picture states, “Fuck a Shooter

                                     17



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   I’m my own Shooter. ĵᶥͥ Make sure Y’all Go stream My Single “Murder
                        ᶦ͢
                         ͤ
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   Scene” Streaming on all plaforms. !! !!”. (Figure 3)




                                   18



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 d. On February 28, 2021, JORDAN posts a picture of himself and another black

    male who JORDAN identifies as “Desavor Jackson”. In the picture both

    JORDAN and “Desavor Jackson” can be seen displaying suspected gang signs.

    (Figure 4)




                                Figure 4




                                  19



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 e. On February 20, 2021, JORDAN posted a picture of himself standing in front of a

    door, with the handle of a pistol sticking out of his right pocket and a cigarillo,

    possible marijuana, in his mouth. (Figure 5)




                                   Figure 5




                                      20



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 f. On February 13, 2021, JORDAN posted a picture of himself and an unidentified

    black male both in possession of firearms. JORDAN appears to be placing or

    removing a firearm from his waistband. (Figure 6)




                                Figure 6




                                   21



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 g. On December 22, 2020, JORDAN posted a picture of him in front of a window

    holding a firearm. JORDAN does not write a caption on this picture/post. (Figure

    7)




                                Figure 7




                                   22



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 h. On October 16, 2020, JORDAN posted a picture of him taking a picture in a

    mirror and displaying gang signs. (Figure 8)




                                 Figure 8




                                    23



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             i. On September 1, 2020, JORDAN posted a picture of himself in a kitchen, wearing

                a white t-shirt with “trap” written across his chest, throwing what appears to be a

                gang sign with his hand. (Figure 9)




                                              Figure 9

       20.      Your Affiant reviewed videos posted by JORDAN. Your Affiant observed two (2)

Facebook Live videos that JORDAN posted on March 12, 2021. Said Facebook Live videos

were promoting a concert occurring in Lake Genova, Wisconsin in which JORDAN was

performing. During the course of the video, your Affiant observed JORDAN display a pistol,

marijuana, and smoke marijuana. The following is a synopsis and screenshots taken from both

Facebook Live videos:

             a. At the beginning of the six minute and six second (6:06) Facebook Live video

                JORDAN can be seen interacting with something off camera, then places the item

                onto the table making a thud sound. Based on your Affiants training and
                                                 24



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   experience, your Affiant believes JORDAN was manipulating a firearm.

   JORDAN then starts touching a clear plastic baggie and has “Dutch” brand

   cigarillo package in front of him on the table (Figure 10). At approximately one

   minute and thirty-nine seconds (1:39), JORDAN proceeds to open the cigarillo

   package and start unrolling a cigarillo. JORDAN empties the tobacco out of the

   cigarillo and places it into a McDonalds container. JORDAN flattens the cigarillo

   wrapper, grabs the clear plastic baggie, takes out a green leafy substance from the

   baggie, that is consistent with marijuana, and starts breaking the substance into

   the empty cigarillo wrapper. JORDAN can be seen doing this multiple times

   (Figure 11). At approximately four minutes and forty-three seconds (4:43),

   JORDAN lifts the clear plastic baggie, which appears to contain a green leafy

   substance consistent with marijuana (Figure 12). At approximately five minutes

   and twelve seconds (5:12), JORDAN raises the cigarillo wrapper, with green

   leafy substance visible inside the wrapper. (Figure 13). At approximately five

   minutes and forty-eight seconds, JORDAN pulls a pistol with an extended

   magazine and places it up to his ear like it is a telephone (Figure 14). The area

   JORDAN was observed grabbing the pistol from was consistent to where

   JORDAN placed an object out of the cameras view at the beginning of the video.

   JORDAN proceeds to point the pistol at the camera, turning on a laser sight

   attached to the pistol, and then places the firearm off camera (Figure 15).

   JORDAN can then be seen continuing to roll the marijuana blunt as the video

   ends.



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            Figure 12                         Figure 13




                             26



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 b. At the start of the second video (total time of 16:11), JORDAN can be seen

    continuing to roll the marijuana blunt. At approximately nine seconds (00:09) into

    the video JORDAN states, “Let me find out mother fuckers tryna block me cause

    I posted my gun. Y’all be hatin’.” This comment was made in reference to

    showing the pistol with the extended magazine and laser sight in the previous

    Facebook Live video. At approximately one minute and twenty-two seconds

    (1:22), JORDAN states, “They gonna eventually ban me. I be posting my gun to

    much, but I mean it ain’t illegal ha ha.” JORDAN then uses a lighter to seal up the

    cigarillo wrapper with marijuana inside. At approximately three minutes and
                                    27



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   twenty-two seconds (3:22), JORDAN can be seeing inhaling from the marijuana

   blunt he just rolled (Figure 16). At approximately three minutes and thirty-seven

   seconds (3:37), JORDAN states, “This ain’t no wood. So go ahead and comment

   and talk your shit, but I guarantee I get high off this bitch. Y’all be rolling that

   bogus ass weed in the woods, fuck you talking about. I don’t hit niggas woods

   they be having bullshit in dem mother fuckers. Fuck you talking about. I put about

   1.5…2 g’s in the Dutch I’ll be good.” At approximately four minutes and fifty-

   two seconds (4:52), JORDAN can be seen tying a knot in the clear plastic baggie,

   that was observed in the previous Facebook Live video described above, with

   green leafy substance inside consistent with marijuana (Figure 17). At

   approximately six minutes and forty-one seconds (6:41), JORDAN states, “I have

   views when I have my gun on that bitch…y’all like violence and shit…I’m on

   defense my gun for defense I ain’t on offense.” At approximately eight minutes

   and twenty-five seconds (8:25), JORDAN again takes out the same pistol from

   the previous Facebook Live video described above and points it at the camera

   (Figure 18). At approximately nine minutes and thirteen seconds (9:13),

   JORDAN places the clear plastic baggie into a small mason jar type container

   (Figure 19). From approximately eleven minutes and three seconds (11:03) to

   thirteen minutes and four seconds (13:04), JORDAN can be seen grabbing the

   marijuana blunt from off camera and repeatedly smoking. Lastly, at

   approximately thirteen minutes and forty-five seconds (13:45), JORDAN once

   again brandishes his pistol (Figure 20).



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          Figure 16                             Figure 17




                             29



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                                                Figure 20

       21.     It is important to note, this was not everything observed by your Affiant on

JORDAN’S publicly accessible Facebook account and statements made by JORDAN that were

put in quotes are not meant to be an exact transcript. The above intelligence analysis merely

serves to establish JORDAN is utilizing Facebook to show he has access to firearms, is engaging

in suspected gang activity, smoking marijuana, and possessing firearm(s), which is in violation

of United States Code, Section 922(g)3, unlawful user of or addicted to any controlled substance.

       22.     On or about December 2, 2021, your Affiant learned that on November 28, 2021

the Chicago Police Department (“CPD”) recovered a Glock, Model 19X, 9mm caliber pistol


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bearing serial number BTDU625 at 206 W. Huron Street, Chicago, Illinois 60654. JORDAN

purchased said firearm on April 10, 2021 from Jalensky’s Outdoors and Marine Inc. The Time to

Crime on the firearm was 232 days. The firearm was recovered by the CPD as a result of a

shooting incident/investigation.

       23.     To Date, investigators have identified approximately sixteen (16) firearms that

have been purchased by JORDAN. Of the 16 firearms, six (6) are linked to multiple sale reports

and five (5) have been recovered and traced by law enforcement. Several of the most recent

firearm traces have had short Time to Crimes as they were recovered by law enforcement within

a year of their purchase. Of those traces three have been recovered by law enforcement in

Illinois. Furthermore, JORDAN purchased three (3) Glock, Model 19’s within a little over a

month and three (3) Glock, Model 23’s within a month.

       24.     Based on this investigation and other complex investigations, I know gang

members, illegal drug users, and drug and firearm traffickers utilize multiple mechanisms to

facilitate criminal activity, as well as attempt to thwart law enforcement efforts by constantly

changing communication devices and modes of transportation. However, Facebook and its

subsidiary companies implement a variety of algorithms and technology to discourage and in

some cases remove or block, multiple Facebook accounts by a single user. Consequently, the

investigation has yielded no information that JORDAN operates any Facebook but the TARGET

ACCOUNT, and as such, I believe an abundant amount of evidence regarding criminal activity

will be located on the TARGET ACCOUNT.

       25.     In sum, I believe JORDAN utilizes the TARGET ACCOUNT to document his

illegal possession of firearms, assist with the trafficking of firearms and possession, use, and/or

trafficking of illegal narcotics. JORDAN also makes/shares posts and images of himself on the

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TARGET ACCOUNT that show JORDAN actively engaging in gang activity. Based on the

aforementioned facts, I believe there is probable cause to believe that JORDAN is utilizing the

TARGET ACCOUNT to illegally possess firearms, illegally traffic firearms and illegal possess

and or distribute illegal narcotics, in violation of Title 18 USC 922 as well as Title 21 USC 841

and 846.

       26.        Facebook owns and operates a free-access social networking website of the same

name that can be accessed at http://www.facebook.com. Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news,

photographs, videos, and other information with other Facebook users, and sometimes with the

general public.

       27.        Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include

the user’s full name, birth date, gender, contact e-mail addresses, Facebook passwords, Facebook

security questions and answers (for password retrieval), physical address (including city, state,

and zip code), telephone numbers, screen names, websites, and other personal identifiers.

Facebook also assigns a user identification number to each account. Facebook identifies unique

Facebook accounts by a user’s email address, the user ID number, or the username associated

with a Facebook profile.

       28.        Facebook users may join one or more groups or networks to connect and interact

with other users who are members of the same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

Facebook users by sending each user a “Friend Request.” If the recipient of a “Friend Request”

accepts the request, then the two users will become “Friends” for purposes of Facebook and can

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exchange communications or view information about each other. Each Facebook user’s account

includes a list of that user’s “Friends” and a “News Feed,” which highlights information about

the user’s “Friends,” such as profile changes, upcoming events, and birthdays.

       29.     Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create “lists” of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

       30.     Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post “status” updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items

available elsewhere on the Internet. Facebook users can also post information about upcoming

“events,” such as social occasions, by listing the event’s time, location, host, and guest list. In

addition, Facebook users can “check in” to particular locations or add their geographic locations

to their Facebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user’s profile page also includes a “Wall,” which is a space where the user

and his or her “Friends” can post messages, attachments, and links that will typically be visible

to anyone who can view the user’s profile.

       31.     Facebook allows users to upload photos and videos, which may include any

metadata such as a location that the user transmitted when s/he uploaded the photo or video. It

also provides users the ability to “tag” (i.e., label) other Facebook users in a photo or video.

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When a user is tagged in a photo or video, he or she receives a notification of the tag and a link

to see the photo or video. For Facebook’s purposes, the photos and videos associated with a

user’s account will include all photos and videos uploaded by that user that have not been

deleted, as well as all photos and videos uploaded by any user that have that user tagged in them.

       32.     Facebook users can exchange private messages on Facebook with other users.

These messages, which are similar to e-mail messages, are sent to the recipient’s “Inbox” on

Facebook, which also stores copies of messages sent by the recipient, as well as other

information. Facebook users can also post comments on the Facebook profiles of other users or

on their own profiles; such comments are typically associated with a specific posting or item on

the profile. In addition, Facebook has a Chat feature that allows users to send and receive instant

messages through Facebook. These chat communications are stored in the chat history for the

account. Facebook also has a Video Calling feature, and although Facebook does not record the

calls themselves, it does keep records of the date of each call.

       33.     If a Facebook user does not want to interact with another user on Facebook, the

first user can “block” the second user from seeing his or her account.

       34.     Facebook has a “like” feature that allows users to give positive feedback or

connect to particular pages. Facebook users can “like” Facebook posts or updates, as well as

webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become “fans” of particular Facebook pages.

       35.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

       36.     Each Facebook account has an activity log, which is a list of the user’s posts and

other Facebook activities from the inception of the account to the present. The activity log

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includes stories and photos that the user has been tagged in, as well as connections made through

the account, such as “liking” a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user’s Facebook page.

          37.   Facebook Notes is a blogging feature available to Facebook users, and it enables

users to write and post notes or personal web logs (“blogs”), or to import their blogs from other

services, such as Xanga, LiveJournal, and Blogger.

          38.   The Facebook Gifts feature allows users to send virtual “gifts” to their friends that

appear as icons on the recipient’s profile page. Gifts cost money to purchase, and a personalized

message can be attached to each gift. Facebook users can also send each other “pokes,” which

are free and simply result in a notification to the recipient that he or she has been “poked” by the

sender.

          39.   Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

          40.   In addition to the applications described above, Facebook also provides its users

with access to thousands of other applications (“apps”) on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user’s access

or use of that application may appear on the user’s profile page.

          41.   Some Facebook pages are affiliated with groups of users, rather than one

individual user. Membership in the group is monitored and regulated by the administrator or

head of the group, who can invite new members and reject or accept requests by users to enter.

Facebook can identify all users who are currently registered to a particular group and can

identify the administrator and/or creator of the group. Facebook uses the term “Group Contact



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Info” to describe the contact information for the group’s creator and/or administrator, as well as a

PDF of the current status of the group profile page.

       42.     Facebook uses the term “Neoprint” to describe an expanded view of a given user

profile. The “Neoprint” for a given user can include the following information from the user’s

profile: profile contact information; News Feed information; status updates; links to videos,

photographs, articles, and other items; Notes; Wall postings; friend lists, including the friends’

Facebook user identification numbers; groups and networks of which the user is a member,

including the groups’ Facebook group identification numbers; future and past event postings;

rejected “Friend” requests; comments; gifts; pokes; tags; and information about the user’s access

and use of Facebook applications.

       43.     Facebook also retains Internet Protocol (“IP”) logs for a given user ID or IP

address. These logs may contain information about the actions taken by the user ID or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user ID and IP address associated with the action. For example, if a user views a

Facebook profile, that user’s IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       44.     Social networking providers like Facebook typically retain additional information

about their users’ accounts, such as information about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the

service (including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

Facebook typically retain records about such communications, including records of contacts

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between the user and the provider’s support services, as well as records of any actions taken by

the provider or user as a result of the communications.

       45.     As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. From my training, experience,

and investigation, I know that a Facebook user’s “Neoprint,” IP log, stored electronic

communications, and other data retained by Facebook, can indicate who has used or controlled

the Facebook account. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. For example, profile contact

information, private messaging logs, status updates, and tagged photos (and the data associated

with the foregoing, such as date and time) may be evidence of who used or controlled the

Facebook account at a relevant time. Further, Facebook account activity can show how and

when the account was accessed or used. For example, as described herein, Facebook logs the

Internet Protocol (IP) addresses from which users access their accounts along with the time and

date. By determining the physical location associated with the logged IP addresses, investigators

can understand the chronological and geographic context of the account access and use relating

to the crime under investigation. Such information allows investigators to understand the

geographic and chronological context of Facebook access, use, and events relating to the crime

under investigation. Additionally, Facebook builds geo-location into some of its services. Geo-

location allows, for example, users to “tag” their location in posts and Facebook “friends” to

locate each other. This geographic and timeline information may tend to either inculpate or

exculpate the Facebook account owner. Finally, Facebook account activity may provide relevant

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insight into the Facebook account owner’s state of mind as it relates to the offense under

investigation. For example, information on the Facebook account may indicate the owner’s

motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

       46.     Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction

information, and other account information.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       47.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Facebook to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B,

using the procedures described in Section III of Attachment B.

                                         CONCLUSION

       48.     Based on the forgoing, I request that the Court issue the proposed search warrant.

       49.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.




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       50.     Because the warrant will be served on Facebook who will then compile the

requested records and information at a time convenient to it, there exists reasonable cause to

permit the execution of the requested warrant at any time in the day or night.




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                                     ATTACHMENT A


                                  Property to Be Searched


       This warrant applies to information associated with the Facebook user ID #

100030400848546 that is stored at premises owned, maintained, controlled, or operated by

Facebook Inc., a company headquartered in Menlo Park, California.




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                                       ATTACHMENT B

                        Particular Things to be Seized and Procedures
                            to Facilitate Execution of the Warrant

I.     Information to be disclosed by Facebook

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Facebook, Inc. (“Facebook”), including any messages, records, files, logs,

or information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C. § 2703(f), Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A:

       (a)     All contact and personal identifying information, including Facebook user ID #

               100030400848546: full name, user identification number, birth date, gender,

               contact e-mail addresses, Facebook passwords, Facebook security questions and

               answers, physical address (including city, state, and zip code), telephone numbers,

               screen names, websites, and other personal identifiers.

       (b)     All activity logs for the account and all other documents showing the user’s posts

               and other Facebook activities;

       (c)     All photos and videos uploaded by that user ID and all photos and videos

               uploaded by any user that have that user tagged in them;

       (d)     All profile information; News Feed information; status updates; links to videos,

               photographs, articles and other such items; Notes; Wall postings; friend lists,

               including the friends’ Facebook user identification numbers; groups and networks

               of which the user is a member, including the groups’ Facebook group

               identification numbers; future and past event postings; rejected “Friend” requests;




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         comments; gifts; pokes; tags; and information about the user’s access and use of

         Facebook applications;

(e)      All other records of communications and messages made or received by the user,

         including all private messages, chat history, video calling history, and pending

         “Friend” requests;

(f)      All “check ins” and other location information;

(g)      All IP logs, including all records of the IP addresses that logged into the account;

(h)      All records of the account’s usage of the “Like” feature, including all Facebook

         posts and all non-Facebook webpages and content that the user has “liked”;

(i)      All information about the Facebook pages that the account is or was a “fan” of;

(j)      All past and present lists of friends created by the account;

(k)      All records of Facebook searches performed by the account;

(l)      All information about the user’s access and use of Facebook Marketplace;

(m)      The types of service utilized by the user;

(n)      The length of service (including start date) and the means and source of any

         payments associated with the service (including any credit card or bank account

         number);

(o)      All privacy settings and other account settings, including privacy settings for

         individual Facebook posts and activities, and all records showing which Facebook

         users have been blocked by the account;

(p)      All records pertaining to communications between Facebook and any person

         regarding the user or the user’s Facebook account, including contacts with support

         services and records of actions taken.

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II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, or

instrumentalities of, or contraband from, violations of Title 19, United States Code, 922, Title 21,

United States Code, Sections 841 and 846 involving JORDAN since September 1, 2019,

including, for each user ID identified on Attachment A, information pertaining to the following

matters:

            (a) The possession and/or sale of illegal narcotics;

            (b) The possession of firearms;

            (c) Evidence of straw purchasing firearms and illegal firearms trafficking;

            (d) Evidence indicating how and when the Facebook account was accessed or used,

               to determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Facebook account

               owner;

            (e) Evidence indicating the Facebook account owner’s state of mind as it relates to

               the crime under investigation;

            (f) The identity of the person(s) who created or used the user ID, including records

               that help reveal the whereabouts of such person(s).

            (g) The identity of the person(s) who communicated with the user ID about matters

               relating to the sale or purchase of illegal narcotics, including records that help

               reveal their whereabouts.

III.        Government procedures for warrant execution

       The United States government will conduct a search of the information produced by

Facebook and determine which information is within the scope of the information to be seized

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specified in Section II. That information that is within the scope of Section II may be copied and

retained by the United States.

       Law enforcement personnel will then seal any information from Facebook that does not

fall within the scope of Section II and will not further review the information absent an order of

the Court.




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            CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
           RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


        I, _________________________________, attest, under penalties of perjury under the

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information

contained in this declaration is true and correct. I am employed by Facebook, and my official

title is _____________________________. I am a custodian of records for Facebook. I state

that each of the records attached hereto is the original record or a true duplicate of the original

record in the custody of Facebook, and that I am the custodian of the attached records consisting

of __________ (pages/CDs/kilobytes). I further state that:


a.      all records attached to this certificate were made at or near the time of the occurrence of

the matter set forth, by, or from information transmitted by, a person with knowledge of those

matters;


b.      such records were kept in the ordinary course of a regularly conducted business activity

of Facebook; and


c.      such records were made by Facebook as a regular practice.


        I further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.




 Date                                  Signature




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